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              11                               UNITED STATES DISTRICT COURT
              12                               EASTERN DISTRICT OF CALIFORNIA
              13
              14 RALPH COLEMAN, et al.,                       Case No. 2:90-CV-00520-KJM-DB
              15                 Plaintiffs,                  DECLARATION OF MARC J. SHINN-
                                                              KRANTZ IN SUPPORT OF
              16          v.                                  PLAINTIFFS’ REQUEST FOR A
                                                              STATUS CONFERENCE
              17 EDMUND G. BROWN, JR., et al.,                REGARDING REPORT FROM DR.
                                                              GOLDING REGARDING
              18                 Defendants.                  ALLEGATIONS OF
                                                              MISREPRESENTATIONS OF
              19                                              COMPLIANCE DATA
              20                                              Judge: Hon. Kimberly J. Mueller
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                     DECLARATION OF MARC J. SHINN-KRANTZ IN SUPPORT OF PLAINTIFFS’ REQUEST FOR A STATUS
                        CONFERENCE REGARDING REPORT FROM DR. GOLDING REGARDING ALLEGATIONS OF
[3309015.1]                             MISREPRESENTATIONS OF COMPLIANCE DATA
                   Case 2:90-cv-00520-KJM-DB Document 5943 Filed 10/09/18 Page 2 of 4


               1          I, Marc J. Shinn-Krantz, do hereby declare:
               2          1.     I am an attorney admitted to practice law in California, a member of the bar
               3 of this Court, and an associate at the law firm Rosen Bien Galvan & Grunfeld LLP,
               4 counsel of record for Plaintiffs. I have personal knowledge of the matters set forth herein
               5 and if called as a witness I could competently so testify. I make this Declaration in
               6 Support of Plaintiffs’ Request For a Status Conference Regarding Report From Dr.
               7 Golding Regarding Allegations of Misrepresentations of Compliance Data, filed on
               8 October 5, 2018 at ECF No. 5936.
               9          2.     On Thursday October 4, 2018, Andrew Gibson of the Attorney General’s
              10 Office sent my office a copy of a report, with numerous exhibits, by Dr. Michael Golding,
              11 Statewide Chief Psychiatrist for the California Department of Corrections and
              12 Rehabilitation, that contain serious allegations that Defendants had, among other things,
              13 provided inaccurate and materially misleading compliance data to the Court, the Special
              14 Master, and Plaintiffs’ counsel. On Friday October 5, 2018, Plaintiffs requested to file
              15 under seal a true and correct copy of this report, which is pending before this Court at ECF
              16 No. 5937. In the interest of time, Plaintiffs did not request to file the voluminous exhibits
              17 related to Dr. Golding’s report under seal on that date, as they were provided to Plaintiffs
              18 in a series of numerous separate PDF documents.
              19          3.     To ensure the Court has all necessary information before it at the October 10,
              20 2018 status conference concerning, inter alia, Plaintiffs’ requests for additional orders
              21 regarding Dr. Golding’s report, Plaintiffs now seek to file, under separate cover, a true and
              22 correct copy of the exhibits to Dr. Golding’s report as Confidential Exhibit A to this
              23 declaration. Please note that, because Dr. Golding’s numerous exhibits were provided to
              24 Plaintiffs as separate, unpaginated documents, Plaintiffs have assembled the exhibits into a
              25 single document, in the order in which they were provided, and paginated them in
              26 accordance with Local Rule 141(b). No other modifications were made to the exhibits
              27 provided to Plaintiffs that are the subject of the instant request to seal.
              28                                                  1
                     DECLARATION OF MARC J. SHINN-KRANTZ IN SUPPORT OF PLAINTIFFS’ REQUEST FOR A STATUS
                        CONFERENCE REGARDING REPORT FROM DR. GOLDING REGARDING ALLEGATIONS OF
[3309015.1]                             MISREPRESENTATIONS OF COMPLIANCE DATA
                   Case 2:90-cv-00520-KJM-DB Document 5943 Filed 10/09/18 Page 3 of 4


               1         I declare under penalty of perjury under the laws of the United States and the State
               2 of California that the foregoing is true and correct, and that this declaration is executed at
               3 San Francisco, California this 9th day of October, 2018.
               4
               5                                                 /s/ Marc J. Shinn-Krantz
                                                                 Marc J. Shinn-Krantz
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                    DECLARATION OF MARC J. SHINN-KRANTZ IN SUPPORT OF PLAINTIFFS’ REQUEST FOR A STATUS
                       CONFERENCE REGARDING REPORT FROM DR. GOLDING REGARDING ALLEGATIONS OF
[3309015.1]                            MISREPRESENTATIONS OF COMPLIANCE DATA
Case 2:90-cv-00520-KJM-DB Document 5943 Filed 10/09/18 Page 4 of 4




    CONFIDENTIAL
       EXHIBIT A
SUBMITTED UNDER SEAL
     PURSUANT TO
   REQUEST TO SEAL
